Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 1 of 8 PagelD #: 2

AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

forthe SEALE

District of Delaware

In the Matter of the Search of )
(Briefly describe the property to be searched ) ay pA
or identify the person by name and address) ) Case No. 19- AH
INFORMATION ASSOCIATED WITH

RHBDC@ICLOUD.COM THAT IS STORED AT
PREMISES CONTROLLED BY APPLE, INC. )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Northern District of California

(identify the person or describe the property to be searched and give its location}:

See Attachment A, incorporated herein

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property ©
described above, and that such search will reveal (identify the person or describe the property to be seized):

See Attachment B, incorporated herein

SEATED SEO se

YOU ARE COMMANDED to execute this warrant on or before ek L | Ao}9. _ (not ta exceed 14 days)

(7 in the daytime 6:00 a.m. to 10:00 p.m. @at any time in the day or ae cause good cause f been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to

(United States Magistrate Judge)

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial}, and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

OG for —_ days (nor to exceed 30) © until, the facts justifying, the later specific date of _.

Date and time issued: g/ ot | QO\ 4 3 *20P M

City and state: Wilmington, Delaware Honorable verry Fallon, U.S. Magistrate Judge
Pririied name and title

Case 1:19-mj-00234-UNA Document6 Filed 12/05/19 Page 2 of 8 PagelD #: 3

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

Return
Case No.: Date and time warrant executed: Copy of warrant and4nvertery-left with:
19 234m Alsol2019 @ 21 AM Pepet, Inc.

Inventory made in the presence of :

LoseaT Genk art, 1RS- CE Specimen eeu

Inventory of the property taken and name of any person(s) seized:

Associ ATED with THE Appi, INC:

EMAIL

One HERODRIVE. CNTANING NPRM ATION

ApereesS ef RHBOC (@ ICLowD .comM .

1 ANG

Certification

designated judge.

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

Date: izie|z 019 _

Vasscch. Be Res slec Special As eat

" By xecuting officer's signature

Py Ton re Sey

LbeSs WUSD

[2-5-2014

OWorn & and sulosecilbed b elore Me,

oherni -Falttow
Wi. SS twkrake Youd ©
S
Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 3 of 8 PagelD #: 4

ATTACHMENT A
Property to be Searched

This warrant applies to information associated with rhbdc@icloud.com that is
stored at premises owned, maintained, controlled, or operated by Apple, Inc., a company

headquartered at | Infinite Loop, Cupertino, CA 95014.

Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 4 of 8 PagelD #: 5

ATTACHMENT B
Particular Things to be Seized
L Information to be disclosed by Apple, Inc. (the “Provider”)

For the time period January 2014 to the present, to the extent that the information
described in Attachment A is within the possession, custody, or control of the Provider,
regardless of whether such information is stored, held or maintained inside or outside of the
United States, and including any emails, records, files, logs, or information that has been deleted
but is still available to the Provider, or has been preserved pursuant to requests made under 18
U.S.C. § 2703(£) on or about April 11, 2019 and on or about July 11, 2019, the Provider is
required to disclose the following information to the government for each account or identifier
listed in Attachment A:

a. The contents of all emails associated with the account, including stored or
preserved copies of emails sent to and from the account, draft emails, the source and destination
addresses associated with each email, the date and time at which each email was sent, and the
size and length of each email;

b. All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers, records of session
times and durations, the date on which the account was created, the length of service, the IP
address used to register the account, log-in IP addresses associated with session times and dates,
account status, alternative email addresses provided during registration, methods of connecting,
log files, and means and source of payment (including any credit or bank account number);

c. The types of service utilized;
Case 1:19-mj-00234-UNA Document6 Filed 12/05/19 Page 5 of 8 PagelD #: 6

d. All records or other information stored at any time by an individual using the
account, including address books, contact and buddy lists, calendar data, pictures, and files;
All records pertaining to communications between the Provider and any person regarding the
account, including contacts with support services and records of actions taken. The Provider is
hereby ordered to disclose the above information to the government within 14 days of issuance

of this warrant.
Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 6 of 8 PagelD #: 7

*

IL Information to be seized by the government
All information described above in Section I that constitutes fruits, contraband, evidence,
and instrumentalities of tax evasion (26 U.S.C. § 7201), willful failure to file tax returns and
failure to pay income tax (26 U.S.C. § 7203), and willfully filing false tax returns (26 U.S.C.
§ 7206(1)), those violations involving Robert Hunter Biden or any entity he owns or controls,
occurring after January 1, 2014, including, for each account or identifier listed on Attachment A,
information pertaining to the following matters:

(a) All financial and other bookkeeping information and records, including
correspondence regarding the same;

(b) All records and information relating to federal, state, and foreign individual,
corporate, employment and property taxes, including correspondence regarding
the same;

(c) All records and information pertaining to personal and business expenditures
including correspondence regarding the same;

(d) All records and information reflecting business operations and business
ownership, including business incorporation documents, employment records,
paychecks, business expenses, business income, investments, and work schedules,
including correspondence regarding the same;

(e) Evidence indicating how and when the email account was accessed or used to
determine the geographic and chronological context of account access, use, and
events relating to the crime under investigation and to the email account owner;

(f) Evidence indicating the email account owner’s state of mind as it relates to the

crime under investigation; and

Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 7 of 8 PagelD #: 8

Ye 8 Or

(g) The identity of the person(s) who created or used the user ID, including records
that help reveal the whereabouts of such person(s).

This warrant authorizes a review of electronically stored information, communications,
other records and information disclosed pursuant to this warrant in order to locate evidence,
fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FB] or IRS-Cl may deliver a complete
copy of the disclosed electronic data to the custody and control of attorneys for the government

and their support staff for their independent review.

Case 1:19-mj-00234-UNA Document 6 Filed 12/05/19 Page 8 of 8 PagelD #: 9
